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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________
                                                                ECF CASE
DOUGLAS J. HORN and CINDY HARP-HORN,

                               Plaintiffs,                      DECLARATION

       - vs -                                                   Case No. 15-cv-701-FPG/MJR

MEDICAL MARIJUANA, INC., DIXIE ELIXIRS
AND EDIBLES, RED DICE HOLDINGS, LLC,
and DIXIE BOTANICALS,

                      Defendants.
_________________________________________


                STUART W. TITUS, PhD, declares the following, pursuant to 28 USC §

1746, under penalty of perjury:

                1.    I am the chief executive officer (“CEO”) of defendant, Medical

Marijuana, Inc. (“MMI”). My job duties include overseeing all operations and business

activities of MMI.

                2.    I make and submit this declaration in support of MMI’s motion for

judgment on the pleadings pursuant to FRCP Rule 12(c) and for summary judgment

pursuant to FRCP Rule 56.

                3.    I provide the information contained in this declaration based upon

my own personal knowledge and review of records created and/or kept in the regular

course of MMI’s business.




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                 4.      During and prior to October 2012, MMI was engaged in the

business of providing management, investment, consulting services and capital for legal

hemp and cannabis based products and businesses.

                 5.      MMI did not manufacture the product at issue in this action, the

Dixie X CBD Dew Drops 500 mg Tincture (“the product at issue”).

                 6.      MMI never advertised or commissioned advertisements of the

product at issue.

                 7.      Upon information and belief, Dixie Holdings LLC, a/k/a Dixie Elixirs

(“Dixie”) manufactured the product at issue.

                 8.      Red Dice Holdings, LLC (“RDH”) was responsible for the sale of the

product at issue to consumers.

                 9.      I have seen the High Times magazine “article” attached as Exhibit

A to the plaintiffs’ complaint.

                 10.     MMI did not write or commission the writing or publication of that

article.

                 11.     The High Times “article” contains quotations allegedly given by a

Tripp Keber, who is identified as “Dixie’s Managing Director.”

                 12.     Tripp Keber was not an employee or agent of MMI and was not

authorized to speak on behalf of MMI in relation to the product at issue at any time.

DATED:           Poway, California
                 August 29, 2018                           /s Stuart W. Titus
                                                           Stuart W. Titus, PhD




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